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Case 1:03-cv-11111-DKW-KJM Filed 01/01/03

PagelD.109
OC illaA
iRev. 1/79)
CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF DEFENDANT
| DOCKET No, MDL 840_
IN RE ESTATE OF PERDINAND MARCOS HUMAN RIGHTS LITIGATION pace 46 0F___ paces
DATE NR. | PROCEEDINGS
1995
Jan 18 562 | [CONTD. PROM PAGE 45]
Torture Subclass: Pain & Suffering:
Ramirez, Juanito Cc. $25,000.00
Masangkay, Mariano R. $75,000.00
Camuta, Jose $30,000.00
Villanueva, Benigno $20,000.00
De los Angeles, Alexander $100,000.00
Demelino, Matilde aA. $20,000.00
Salvana, Estrella $30,000.00
Kasim, Abdul $65,060.00
Dionsay, Antonic $75,000.00
Umpad, Romeo 8. $30,000.00
Cowak, Fredie $30,000.00
| Pabilani, Jose $50,000.00
Aspirin, Ceriace $100,000.66
Bolastig, Junnie T, $75,000.00
Madendog, Pilot $100,000.00
Usman, Motalib $40,000.00
Rebullido, Pelixburto $50,000.00
Deri, Raul c. $85,000.00
Riram, Linding $30,000.00
Sela, Eling $30,000.00
Summary fxecution Subclass: Pain & Suffering: host Earnings:
Alcantara, Bartolome $76,000.00 $54,000.00
Hara, Juliana Isipin $75,000.00 $18,667.00
Aggabao, Orlando $100,000.00 $35,000.00
Manog, Uldarico c. $100,000.00 $34,533.00
Figuerres, Alfonso Cc. $75,060.00 $53,533.60
Mijares, Luis Manuel $100,600.00 $40,000.c0
Salasol, Saligquidan $75,000.00 $20,833.00
Ganacias, Alberto $100,009.00 $48,000.06
Bucaq, Renato $100,000.00 $75,060.00
Cabayas, Salvador J. $75,000.00 $4,042.00
Gumarang, Agrifino, Jr. $75,000.00 $6,667.00
Jimenez, Samuel $100,000.00 $3,667.00
Falsis, Meichor $75,000.00 $3,555.00
Belleza, Alberto $75,000.00 $15,000.00
Davantes, Reginaide F. $75,000.90 $30,000.00
Llabres, Antonio $75,000.00 $10,000.00
Ceron, Juan 2. $100,000.00 $1,706.00
Mokamad, Magsaysay H. $75,000.00 $10,000.00
Dimatingkal, Tayong $75,000.00 $15,000.00
Kadatuan, Ibrahim $75,000.00 $75,000.00
Saban, Kubaid $75,000.00 $15,000.00
Kindao, Kamilan $75,000.00 $35,000.00
Mamalinta, Hadji Samad $75,000.00 $20,000.00
Kamad, Samama $100,000.00 $30,000.00
Paks, Samad $75,000.06 $50,000.00
Gamba, Alamanso $75,000.06 $15,250.00
Orangotan, Saaban $75,000.00 $50,000.00
Bada, Kanakan $100,000.00 $50,000.00
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me PagelD.110

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(Rev. 1/75)

Civil DOCKET CONTINUATION SHEET

PLAINTIFF

TN RE ESTATE OF FERDINAND MARCOS 8UM:

CEFENDANT

AN RIGHTS LITIGATION

DOCKET NO, MDE 840

Summary Execution Subclass: Pain & Suffering:
Dapak, Musa $100,000.00
Nacua, Alejandro $75,000.00
Orcullo, Alexander L. $75,000.00
Baloro, Bonifacio $100,000.60
Baloro, Lucia $100,000.06
Abdullah, Abas $75,000.00

Anti, Kandog $100,000.00

Rasim, Dakungan
Malicay, Manolo

$100,000.00
$100,000.00

Magit, Tammo $75,000.06
Mama, Kabaiukan $75,000.00
Panalay, Aminola $75,000.00
Parasan, Salaban $100,000.00
Talib, Asim $100,000.00

Tanggal, Tote
Alipoplo, Paglas

$100,900.00
$100,000.00

Albaira, Demetrio $75,000.00
Regalado, Marife $75,000.00
Taha, Macmod $75,000.00
Casia, Saturnino $75,000.00
Giente, Enrique Alegando $75,000.00
Hamoy, Socrates G. $100,000.00
Acaso, Crisanto, dr. $75,000.00
Centens, Bonio $o

Disappearance Subclass:

Wyco, Lucilo

Pain & Suffering:

$100,000.00

Kamsa, Sulaiman $50,000.00

Mabansag, Myrna $0

De la Cruz Nazareno, Ernesto $50,000.00

Buenaventura, Jonny $50,000.00

Omar, Abdullah $100,000.00
Maranao, Kutu $55,000.00

Madi, Maquid $75,000.00

Kuda, Minundas $70,000.00

Albiso, Miguel $100,000.00
Bodiongan, Urbano G. $80,000.00

Andayac, Bodo $50,000.00

Dalgan, Maglib $50,000.00

Pena, Batokan $75,000.00

Dumpac, Usman $50,000.90

Guarde, Decoroso Cc. $80,000.00

Esmael, Uting $50,000.00

Abdulgani, Singapol $50,000.00

Remaining Torture Subclass
Members :
Class Members:

4,869 x

Pain & Suffering:

$51,719.00

[CONTD. ON PAGE 48]

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DATE NR. PROCEEDINGS
1995
gan 18 562 | [CONTD. FROM PAGE 46]

Lost Earnings:
$15,278.00

$35,000.06
$85,000.00
$0

$0
$50,000.00
$45,000.00
$50,000.00
$26,111.00
$0
$50,000.00
$50,000.00
$75,000.00
$80,000.06
$85,000.00
$19,444.00
$15,000.00
$18,611.00
$87,000.00
$55,000.00
$65,000.00
$11,250.00
$6,944.00
30 [AGAINST]
Lost Earnings:
$19,250.00
$58,005.00
$0 [AGAINST]
$7,600.00 —
$17,083.00
$3,583.00
$0 .
$50,000.00
$20,903.00
$10,000.00
$7,500.00
$15,000.00
$37,222.00
$40,000.00
$0
$25,000.00
$30,000.60
$60,000.00

Total:
$281,819,811.06

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CIVEL DOCKET CONTINUATION SHEET

PLAINTIFF

IN RE ESTATE OF FERDINAND MARCOS HUMAN RIGHTS LITIGATION

QEFENDANT :
| DOCKET No. MDL 840

'pace 48 or paces
DATE NR, | PROCEEQINGS
1995
Jan 18 562  [CONTD. PROM PAGE 47]
Remaining Summary Execution
Subclass Members:
Pain & Suffering $85,260.00
Lost Earnings & Support $43,255.00
Subtotal $128,515.00
Class Members x 3,184
TOTAL $409,191, 760.00
Remaining Disappearance
Subclass Members:

Pain & Suffering $71,759.00
Lost Earnings & Support $36,094.00
Subtotal $107,853.00
Class Members x 880
TOTAL $94,910,640.50

19 363 | EP: Jury Trial as to Compensatory Damages as te Named Pltfs' - Jurers present.
Named Pltfs' witnesses - Manuel Buncio, CST: Don R. Pabic, CST: Gerardo
Soao0cce, Jr., CST: Crispin Aranda, CST: Susan Araneta, CST: Jose Asuncion,
CST; Rex Brown, CST; Ramon Castaneda, CST: Vincente Clemente, CST: Marcelino
Deleon, Jr., CST: George Gaddi, CST; Dr. Jerrold Garcia, CST; Dr. Esther
Albano~Garcia, Ramon Jalipa, CST; Alfonse King, CST; Ramon Mappala, CST;
Fluellen Ortigas, CST: Renato Torres, CST; & Emmanuel c. Umali, CST. Named
Pltfs' RESTED, Defts' RESTED. Further Jury Trial as to Named Pitfs!
continued to 01-20-95 @ 9:00 a.m.
(ESR~LG) REAL

20 564 EP: Further Jury Trial as to the Named Pltfs' - Jurors present. Closing
statements on behalf of all parties. Court instructs the Jurors. Jurors
start to deliberate. Note from the Jurors was addressed by this Court.
Conference without the presence of the Jurors < All above named counsel
present along with Robert swift «& Sherry Broder. Regarding Motion for
Atty Fees ~ Court will net address this issue at this time. Other
miscellaneous items were discussed at this conference. Further Hearing
Regarding Mis. Items and Atty Fees, etc. will be set for 03-23-95 @
10:00 a.m. before this Court in Honolulu, Hi. Jurors have reached a
verdict. Verdict was shown to all counsel and filed in open court. Copies
of Verdict were provided to all counsel. Court instructs the Named Pltfs'
Attys to prepare the Judgment. The Jurors were released at 5:15 p.m.
(ESR~1LG) REAL

565 | Note from the Jury

- See page 49 -

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(Rew. 1/75) PagelD.112
CIVH, DOCKET CONTINUATION SHEET
PLAINTIFF DEFENDANT?

"DOCKET NO. MDL 840

IN RE ESTATE OF FERDINAND MARCOS HUMAN RIGHTS LITIGATION | pace 49 of___ paces
DATE NR. PROCEEDINGS
1995
dan 20 566 | Special Verdict ~ Cv. Nos. 90-670-R, 90-671-R, 87-138-R, 86-225-R
Direct Action Pltfs: Pain § Suffering: Loss of:
Manuel Buncio $700,000.00
Don Fabic $250,000.00
Gerald Socco $325,000.00
Crispin Aranda $425,000.00
Susan Araneta $150,000.00
Jose E. Asuncion $400,000.00 Earnings $24,000.00
Rex T. Brown $150,000.00
Ramon Castaneda $300,000.00
Vicente Clemente $450,000.00 Equipment $15,000.00
Marcelino DeLeon $300,000.00
George Gaddi $600,000.00 Earnings $50,000.00
Dr. Jerrold Garcia $300,000.00
Dr. Esther Alhano Garcia $175,000.00 Earnings $16,600.00
Ramon Jalipa $265,000.00 Earnings $7,000.00
Alfonso King $260,000.00 Earnings $21,000.00
Ramon Mappala $175,000.00
Fluellen M. Ortigas $425,000.00
Estate of Alex G. Torres $500,000.00
Emanuel Umali $500,000.00 Equipment $25,000.00
Jaime §. Piopongco $175,000.00
Estate of Francisco Sison $400,006.00
Feb 1 567 | Notice of Motion; Class Plaintiffs' Motion for Issuance of Letters Rogatory;
Exhibits A thru G; Certificate of Service - All cases - referred to Real
3 568 | FINAL JUDGMENT = on behalf of Plaintiffs - REAL
6 569| NOTICE OF APPEAL -~ to 9th CCA on behalf of Republic of the Philippines ~ [re
Final Judgment entered on or about Feb. 3, 1995] [CA 95-15259]
{ec: All counsel)
7 Notice of Appeal and docket sheet sent to 9th CCA - ce: All counsel
8 570| Renewed Motion of Defendant for Judgment as a Matter of Law and Supporting
Memorandum; Certificate of Service ~ on behalf of Deft. Estate of
Ferdinand E. Marcos ~ All cages - referred to Judge Real
16 571 | Memorandum re Proposed Final Judgment Submitted by Sison/Piopongco Plaintiffs
- on behalf of Sison/Piopongeo Pltfs. ~ Civ. 86-225, 87-138
572 | Proposed Final Judgment - Civ. 86-225, 87-138
573 | Certificate of Service
574 | Notice of Transcripts to be Ordered Pursuant to Circuit Rule 10-3.1lla) -
transcript included as part of the record on appeal in CA 94-16739
- on behalf of Republic of the Philippines
17 575 Bill of Costs - $23,599.60 ~ on behalf of Sherry P. Broder for Hilao Pitfs
- Civ. 86-390 CHINN 02-23-95
2i 576 Affidavit of Michael Gallagher re Service of Final Judgment on Nonparty Banks
- served Credit Suisse bank thru Marie Gearabbe on 2+9-95 and Swiss Bank
Corporation-thru Albert PF. Schultheis on 2-9-95 = Civ. 86-390
~ See page 50 -

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(Rev, 1/78) PagelD.113
CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF OCEFENDANT

pocKker No, MDL 840

IN RE ESTATE OF FERDINAND MARCOS HUMAN RIGHTS LITIGATION
pace 50 of PAGES

CATE NR. PROCEEDINGS

1995 .
Feb 28/577 Notice of Transcripts to be Ordered Pursuant to Cir. Rule 10-3.1(a) - Pltfs/Appelilee
designate: Testimony of Arturo Aruiza at trial of liabibity; Testimony
of Caesar Parlade at+trial of exemplary damages; rg. of 12-09-94; firg.
of 01-20-95 - on behalf of Pltfs. ~ All cases

578 | Notice of Motion; Plaintiffs' Motion for Order Directing the Clerk to Certify
the Final Judgment for TranSfer to Other Districts - set for 03-14-95 at
10:00 a.m., Real ~ on behalf of Pltfs. - All cases

Deft's M/For a New Trial, Plti's M/For Contempt 8 Pltf's M/Order Directing
the Clerk to Certify the Final Judgment for Transfer to Other Districts
will all be set for March 14, 1995 @ 10:00 a.m. before Judge Manuel Real
in Honelulu, Hawaii.

{ect all counsel of record) REAL

3 580 Class Plaintiffs' Memorandum in Cpposition to Renewed Motion of Defendant for
Judgment as a Matter of Law Field 02/08/95; Certificate of Service « on
behalf cf Pltfs. - All cases

Deft's Motion for New Trial as to the class is DENIED. Deft's Motion for
New Trial as to individual defts is submitted. Pltf's M/Contempt is contd
to April 24, 1995 @ 10:00 a.m. Piltfs' M/Order Directing the Clerk to
Certify the Final Judgment for Transfer to Other Districts is moot {order
already signed by the Court). Defts M/Remittitur set for April 24, 1995 @
10:00 a.m, Defts are ordered to post an additional $100,000 on or before
April 10, 1995.

(ESR“LG} REAL

582 ORDER Directing the Clerk to Certify the Final Judgment for Transfer to Other
Districts - The Clerk of Court is directed te certify the Final Judqment
of February 3, 1995 for transfer to other districts. ~ on behalf of

Mar 1 | 579 | FO

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14) 581 E

eine

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Pltfs. - All cases REAL
583 ORDER: Letter Rogatory ~ as to Ruben Torres and Magtanggol Gunigundo REAL
Witnessed by Walter Chinn, Chief Clerk of Court CHINN

~ on behalf of Pltfs - All cases
584 FINAL JUDGMENT - Final Judgment is entered in favor of 21 direct action pltfs,

and the Court's Judgment on Liability is as follows: 1) Judgment on
Liability entered 10/20/92 and Order entered 12/17/92 are incorporated
herein; 2) Judgment for compensatory damages is entered for the direct
action pltfs [see Special Verdict, #566]; 3) Judgment for exemplary
damages is entered in the aggregate of $1.2 billion to be divided among
the members of the class and direct action pltfs pro rata. Each pltf
herein included shall receive $132,027.72 for an aggregate amount of
$2,772,582.10; 4} Court orders direct action pltfs (and their attorneys’ }
claim for counsel fees and their submission in support thereof be deferred
and postponed until further order of the Court; 5) Direct action pltfs
are awarded costs: 6) The permanent injunction entered in Cv 86-0390—R
shall be deemed to apply to these direct actions; 7} Any monies collected
by settlement or execution on judgments entered in any of the MDL 840 cases
against the deft Estate shall be held and disbursed as directed by the
Court. ~ on behalf of Ortigas/Clemente and Piopongco/Sison pltfs. ~ Cv Nos.
90~670-R, 9O-OG71-R, 87-138-R, 86-225-R

ce: all counsel REAL

~ See page 51 -

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(Rev. 1/75) PagelD.114
CIVIL DOCKET CONTINUATION SHEET
- PLAINTIFF : DEFENDANT
| oocKkeT no. MOL 840
IN RE ESTATE OF PE
RDINAND MARCOS HUMAN RIGHTS LITIGATION Pace 51 of PAGES
DATE NR. PROCEEDINGS
1995

Mar 27 | 585 Renewed Motion of Defendant for Judgment as a Matter of Law and Supporting
Memorandum; Certificate of Service - referred to Reai - on behalf of Deft.

Estate of Ferdinand E. Marcos ~ All cases
28/586 | Memorandum of Points and Authorities of Plaintiff Jose Maria Sison in Support

of Motion for a New Trial; Declarations of Paul L. Hoffman and Ellen
Lutz - on behalf of Sison/Piopongeo Plitf. - Cv. 86225

587 Notice of Motion and Motion of Plaintiff Jese Maria Sison for a New Trial on
Compensatory and Exemplary Damages ~ on behalf of Sison/Piopongeo Ptlfs.
- Cv. 86-225

Apr 4 Transcript of Proceedings - Original - 01/09/95 ~ V/ARS, Ine.
Transcript of Proceedings - Original - 61/13/95 - V/ARS, Inc.
Transcript of Proceedings - Original - 01/19/95 - V/ARS, Inc.
Transcript of Proceedings - Original ~ 01/20/95. ~ V/ARS, Inc.

Transeript of Proceedings ~- Original ~ 01/20/95 [VERDICT] - V/ARS, Inc.
Transcript of Proceedings + Original - 03/14/95 - V/ARS, Inc.

6 588 Plaintiffs' Motion for Order Directing the Clerk to Certify the Final Judgment
for Transfer te Other Districts ~ on behalf of Ortigas/Clemente Pitfs. -
referred-to Real ~ All cases

589 | Notice of Motion; Plaintiffs' Motion for Order Directing the Clerk to Certify
the Final Judgment for Transfer to Other Districts ~ set for 64/24/95 at
10:00 a.m., Real ~ on behalf of Ortigas/Clemente Pitfs. - All cases

590 Direct Action Plaintiffs' Memorandum in Opposition to Renewed Motion of
Defendant for Judgment as a Matter of Law; Alternate Reduction of Verdicts;
Alternate Motion for New Trial Filed 03/27/95; Certificate of Service -
on behalf of Ortigas/Clemente Pltfs. - All cases

7 591 Response of Defendant in Opposition to Motion of Plaintiff Jose Maria Sison
for a New Trial on Compensatory and Exemplary Damages ~ on behalf of

. Deft. Estate of Ferdinand E. Marcos ~ All cases

10 592 ORDER Directing Defendant to Deposit Costs for Payment of the Special Masters
~ On or hefore 64/10/95 representatives of deft. Estate shall deposit $100, 4o¢
with the Clerk of Court, which Clerk shall place in a fund to pay the Special
Masters - on behalf of Pltfs. - ail cases REAL

593 ORDER Denying Defendant's Renewed Motion for Judgment Notwithstanding the
Verdier or, in the Alternative, for a New Trial < on behalf of Pitfs.

- Cy. 86-390 REAL,

1l | 594 | Notice of Motion; Plaintiffs' Supplemental Motion for Contempt Against Imelda
Marcos and Ferdinand R. Marcos ~- set for 04-24-95 at 10:00 a.m., Real - on
behalf of Pltfs. - Alli cases

595 Notice of Motion: Class Plaintiffs' Motion for Sanctions; Exhibits "A™ thru
"R* - get for 04-24-95 at 9:00 a.m., Real - on behalf of Pltfs. ~ Cv 86-390
12 596 Class Plaintiffs' Motion to Compel Deposition Testimony and Production of
Documents; Memorandum in Support of Motion; Affidavit of Sherry P. Broder;
Exhibits A thru BE; Certificate of Service ~ referred to Real - on behalf of
Plitfs. ~ All cases

14 597 Reply Memorandum in Support of Plaintiff Jose Maria Sison's Motion for a New
Trial - on behalf of Sison/Piopongeo Pitfs ~ Cy 86-225

598 Plaintiffs' Second Supplemental Motion for Contempt Against Imelda Marcos and

Ferdinand R. Marcos; Exhibit "A"; Certificate of Service - on behalf of
Pitfs ~ All cases

~ See page 52 -

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zev. 1/75) PagelD.115
CIVIL, DOCKET CONTINUATION SHEET
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| DOCKET No. MDL 840
IN RE ESTATE OF FERDINAND MARCOS HUMAN RIGHTS LITIGATION | PAGE ™* of PAGES
DATE NR. AA PROCEEDINGS
1995
Apr 19) 599 Reply Memorandum of Defendant in Support of Motion for Judgment as a Matter of
Law; Alternative Reduction of Verdicts; Alternative Motion for New Trial
as to Direct Action Plaintiffs - on behalf of Deft. Estate of Ferdinand E.
Marcos - All cases
21 | 606 Memorandum in Opposition to Motion for Contempt ~ on behalf of Deft Estate of
Perdinand:E. Marcos - All cases
601 Memorandum in Opposition to Motion for Sanctions - on behalf of Deft Estate-of
Ferdinand E. Marcos ~ All cases
Transcript of Proceedings - Original - 01409-95 - Lisa Groulx-Thompson
24 Transcript of Proceedings ~- Original - 61/10/95 - Lisa Groulx-Thompson
Transcript of Proceedings - Original - 01/11/95 - Lisa Groulx~Thompson
602 ORDER Granting Class Plaintiffs' Motion to Compel Deposition Testimony and
Production of Documents ~- Non-party witness, Elliott Loden, is hereby
ordered to testify and produce decuments relating to property Located at
2338 Makiki Heights Dr., Honolulu, Hawaii, and any other legal work for
the same clients or their agents and associates. - on behalf of Pltf€s
- All cases REAL
Transcript of Proceedings - Original - 01/11/95 - Lisa Groulx-Thompson
603 ORDER Granting Class Plaintiffs' Motion to Compel Deposition Testimony and
Production of Documents ~ [same as Doc #602 exeept for the following... ]
This order shall be construed in any way to agree that any attorney-client
relationship entered between deponent Elliott Loden and the Estate of
Ferdinand Morcos or Ferdinand and Imelda Marcos. ~ on behalf of Pitfs
- All cases REAL
RECEIVED from 9th CCA original court reporter's transcriptrof 09-12-94 hearing
604 EP: VARIOUS MOTIONS -

l.

Plainti£€'s Motion for Contempt ~ GRANTED. Hearing on the issue of
sanctions held in camera and proceédings ordered SEALED. Plaintiff's
exhibits 651 thru 665 and Defendant's exhibit 666 admitted in

evidence (retained by the Court).

Plaintiff Jose Maria Sison's Motion for New Trial on Compensatory-and
ixemplary Damages (Cv 86-225) - DENIED.

Plaintiffs' Motion for Order Deirecting Clerk to Certify Final Judgment
for Transfer to Other Districts - ruling deferred.

Defendant's Renewed“Motion for Judgment as a Matter of Law ~ remittitur
may be GRANTED IN PART as follows: Francisco Sison, reduced from
$400,000 to $100,000; Alex Torres, reduced from $500,000 to $100,000;
Dr. Garcia, reduced from $300,000 to $200,000; Dr. Esther Albano
Garcia, matter will stand as returned by the jury; Susan Araneta,
reduced from $150,000 to $75,000: Vincente Clemente, reduced $450,000
to $150,000, the property matter is to stand as $15,000, as returned

by the jury; Rex T, Brown, reduced from $150,000 to $75,000; Jose
Asuncion, reducdd“from $400,000 to $250,000, the property of $24,000

is left as returned by the jury; Marcelino DeLeon Jr., reduced from
$300,000 to $75,000; Ramon Jalipa, reduced from $265,000 to $100,000;
Alfonso King, reduced from $200,000 and $21,000 to $75,000, property:
to remain as returned by the jury; George Gaddi, reduced from $600,000
and $50,000 to $300,000, and property as returned by the jury: Ramon
Mappala, reduced from $175,000 to $50,000; Ramon Castandda, reduced
from $300,000 to $175,000; mmanuel Umali, reduced from $500,000 and
$25,000 to $300,000, property to stand as allowed by the jury; Crispin
Aranda, matter will stand as returned by the jury;... [cont'd page 53]

- See page 53 -

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CIVIL DOCKET CONTINUATION SHEET

-PLAINTIPF

IN RE ESTATE OF FERDINAND MARCOS HUMAN RIGHTS LITIGATION pace 53_oF

CEFENDANT
pocKET No, MBL 840

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DATE

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1995
Apr 24

May 1

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[cont'd from page 52[

..-Filnellen Ortigas, matter will stand as returned by the jury: Gerald Socco,
reduced from $325,0G0 to $150,000; Don Fabic, reduced from $256,000 to
$50,000; Manvel Buncio, reduced from $700,000 to $4257000; Jaime
Piopongce, reduced from $175,000 te $75,000.

Further hearing on Renewed Motion of Defendant for Judgment as a Matter of
Law is set for August 28, 1995 @ 10:00 a.m. in the District of Hawaii.
Plaintiffs to respénd to the motion before May 30, 1995, and defendant
reply before June 15, 1995.
(tT?) REAL

EP; IN CAMERA HEARING RE: SANCTIONS ~ SEALED.
(TC) REAL

Special Master and court-appointed Expert's Bill for Professional Services,
6/29/94 through 2/3/95 ~ Total amount due $150,068. 59 - on behalf of Special
Master Sol Schreiber, Laura Weissbach and Laura Gili REAL

NOTICE OF APPEAL ~ to 9th CCA on behalf of Defts Estate of Ferdinand E. Marcos ~
re Final Judgment entered on February 3, 1995 - All cases — [CA 95-15779]
ec: all counsel

Notice of Appeal and docket sheet set to 9th CCA ~ ec; all counsel

AMENDED NOTICE OF APPEAL ~ to 9th cca on behalf of Defts Estate of Ferdinand E.
Marcos - re Pinal Judgment entered on Feb. 3, 1995 and Order Denying Deft's
Renewed Motion for Judgment Notwithstanding the Verdict or, in the
Alternative, for a New Trial entered Apr. 10, 1995 ~ All cases ~ [CA 95-15779]
ec: all counsel

Amended Notice of Appeal and docket sheet sent to 9th CCA - cc: all counsel

ORDER ~- This Court orders the Clerk of Court to write a check to the Special
Master Sol Schreiber for $92,756.70. The balance of $57,311.89 will be
deposited to Special Master Schreiber's account once defts deposit the
$100,000 with the Clerk of Court [per order dtd 4-24-95] - All cases
cc: all counsel, financial REAL

Plaintiffs' Motion For Preliminary Declaration Re Ownership of 2338 Makiki Heightis
And Issuance of Writ of Execution: Exhibits A thru D; Certificate of Service ~

referred to Judge Real
Amended Notice of Plaintiffs' Motion for Preliminary Declaration re Ownership
of 2338 Makiki Heights and Issuance of Writ of Execution; Certificate of
Service - set for 06/30/95 at 10:00 a.m., Real ~ on behalf of Class Pitfs
- All cases
Transcript Designation and Ordering Form ~- 09/09~-22/92 (Lisa Groulx)};
01/09-18/95 (Lisa Groulx); 09/23«24/92 (ESR-LG); 01/09-19/95 (ESR-LG);
02/08/93, 06/27/94, 08/03/94 (ESR-MM); 61/22+23/94 (Hedy Coleman} -
CA 95~-15779
Class Plaintiffs' Motion for Contempt Against Imelda Marcos and Ferdinand
Marcos, Jr. [heard on 05/12/95 in Central District of CA] ~ Court hears fr
counsel re class plaintiffs' motion. The Court finds respondents in contempt,
and ORDERS that respondents shall return to the registry of the District Coprt
in Hawaii all artwork and/or proceeds from the sales of artwork and/or any
other proceeds taken in violation of the injunction, on or before’May 30,
1995, and FURTHER ORDERS that in default thereof respondents shall be fined
$100,000.00 per day for every day the above order foes unheeded. Further,
the Court discusses the failure to deposit the $100,000 as ordered for fees
of the Special Master...S§cont'd on page 54]

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mw. 1/75}

Case 1:03-cv-11111s-DKW-KJM Document1-2  Filed‘01/01/03 Page 9 of 25
Bas PagelD.117 a

CIVIL DOCKET CONTINUATION SHEET

PLAINTIFE

IN RE ESTATE OF FERDINAND MARCOS HUMAN RIGHTS LITIGATION pace 540F PAGES

SEFENDANT
| DOCKET NO. MDL 840 __

DATE NR.

PROCEEDINGS

1995
May 25) 613

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Jun 2 617

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21 623

{cont'd from page 53]:
-.,?he Court sets a date for hearingcof June 30, 1995 at 10:00 a.m. in the &
District Court in Hawaii re the matter of execution of assignment; parties
to file points and authorities re said matter by May 31, 1995. The Court
further Orders that Mr. Linn shall be present for said hearing. TherCourt
further Orders that counsel for respondents shall provide at said hearing
to the Court original records of all monies deposited with counsel and
their firme by the Marcos', and the purposed of any expenditures involved
with said monies.

(Lynne Smith} REAL

ORDER Granting Plaintiffs' Motion for Contempt ~ [Imelda R. Marcos and Ferdinand
R. Marcos are adjudged in civil contempt of this Court's Preliminary
Injunction entered‘11/20/91 and this Court's Order re Costs of the Special
Masters entered 04/10/95% To purge themselves of contempt, they shall:

a) deposit $100,000 with the Clerk of Court; b}) submit a written, signed
and notarized renunciation and repudiation of the 1992 and 1993 agreements
to the Clerk of Court, a representative of the Executive Branch of the Republic
of the Philippines and fileca copy thereof with an appropriate court in the
Republic of the Philippines; c) deposit with Clerk all pnoceeads rec'd by
them from the sale of artwork.:cThe Court levies a fine of $100,000 per day
against Imelda R. and FerdindndcR. Marcos in their personal capacities,
jointly and severally, beginning May 30, 1995, which shall be paid to P
Plaintiffs' Lead Counsel.+ - on behalf of Class Pltfs - Cv 86-390

Memorandum re Broposed Remittitur for Plaintiffs Francisco Sison and Jaime
Piopongco - on behalf of Sison/Piopongeo pltfs ~ Cv 86-225

Memorandum re Proposed Remittiturrfor Plaintiffs Manuel §. Buncio, Don R. Fabic,
and Gerardo Socco jr. ~ om behalf of pltfs Buncic, Fabic and Socco - All
cases

Memorandum of Ferdinand R. Morecos Concerning Orders Directing Specific Acts - on
behalf of Deft. Estate of Ferdinand E. Marcos - All cases

Memorandum of Ferdinand 8. Marcos, as Representative of Defendant Estate, Regarding
Plaintiffs’ Motion to Cite for Contempt of Court ~ on behalf of Deft. Estatd
of Ferdinand E. Marcos - All cases

Ho: Pltf's:Métion for Preliminary Declaration re Ownership of 2338 Makiki Heights
and Issuance of Writ of Execution and Deft's Motion for Assignment of Rightg
presently set for 06-30-95 are hereby continued to 06-29-95 € 10:00 a.m. before
Judge Manuel Real in Honolulu, Hawaii.
ee: all counsel REAL

Memorandum of Imelda R. Marcos, as Representative of the Defendant, Regarding
Assignment of Estate Assets - on behalf of Deft. Estate of Ferdinand E.
Marcos ~ All cases

Response of Defendant in Opposition to Motion of Plaintiff Jose Marie Sison for
a New Trial on Compensatory and Exemplary Damages ~ on hehalf of Deft. Estate
of Ferdinand E. Marcos - All cases

Transcript“Designation and Ordering Form - 12/09/94 (TC); 01/20/95 (ESR~LG);
09/14/92 {Lisa Groulx-Thompson}; 02/22994 (Hedy Coleman) - CA 95-15259

Transcript of Proceedings - orignal - (TC) ~ 12/09/94

Partial Transcript of Proceedings ~- orignal - (Lisa Groulx-Thompson) ~ 09/14/94

Memorandum of Ferdinand E. Marcos Regarding Status of Counsel; Affidavit of
Lex R. Smith; Exhibit "A"; Certificate of Service - on behalf of Deft.

Estate of Ferdinand BE. Marcos - All cases

- See page 55 -

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(Rev. 1/75}

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CIVIL DOCKET CONTINUATION SHEET

PLAINTIFF

IN RE ESTATE OF PERDINAND MARCOS HUMAN RIGHTS LITIGATION

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pocKer No, MDE 840

PAGE 35 oF PAGES

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1995
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NOTICE OF APPEAL ~ Order Granting Plaintiffs' Motion for Contempt dtd. 5-26-95
~ on behalf of Deft. Estate of Ferdinand E. Marcos ~ All cases ~ ce: ail
counsel - [CA 95~16145]}

RECEIVED re #624 fee in amount of $105.00, receipt #161012

Notice of Appeal (#624) and docket sheet sent to 9th CCA - ce: all counsel

Memorandum of Lei Investments, Ltd. in Opposition te Plaintiffs' Motion for
Preliminary Declaration re Ownership of 2338 Makiki Heights and Issuance of |
Writ of Execution; Affidavit of George Kean and Exhibits A and B thereto;
Affidavit of Bruce C. Bigelow and Exhibit C thereto: Certificate of
Service - on behalf of Intervenor Lei Investments, Ltd. - All cases

Partial Transcript of Proceedings ~ original ~ 02/24/95 - Hedy Coleman

Transcript Designation and Ordering Form [re #624] - 05/12/95 Lynne Smith

Response to Proposed Remittitur by Certain Direct A: <ion Plaintiffs - on behalf
of certain Direct Action pltfs - All cases

EP: Pitf's Motion for Preliminary Declaration re Ownership of 2338 Makiki
Heights - Pltf's attorney Swift, Broder & Bigelow (intervenor attorney
representing intervenor Lei Investments, Ltd.) have submitted for Court's
approval a stipulated order regarding this motion. Also, Judge Real will
be approving the Ex Parte Motion to allow int svensr party Lei Investments
to intervene in this action.

Continued hearing as to the payment of Specia. Master Sol Schreiber - Atty.
James Paul Linn CST. Plaintiffs’ exhibits 668, 669 & 671 ADMITTED. This
Court hereby orders the law firm of Linn & Nevels to pay the Special Master
Sol Schreiber the amount of $114,065.04, balance owed to the Special Master.
Deft's. Motion for Assignment of Rights - Court hereby orders the assignment
of funds in Swiss banks to be deposited with the court for distribution to
the judgment creditors. Mr. Swift to prepare the order regarding the
assignment of funds for Court's approval.

Attorneys Linn and Bartkow informed this Court they have no authority to
settle, and settlement discussions would not be very productive.

(TC) REAL:

STIPULATED ORDER - 1. Pltfs. agree to withdraw pending M/Preliminary Declaration
re Ownership of 2338 Makiki Heights and Issuance of Writ of Execution, and
shall file a Supplemental Complaint; 2. Subject to further order, Lei
Investments, Ltd. shall not transfer, convey...2338 Makiki Heights Drive
for 6 months; 3. Lei Investments shall cooperate with pltf's counsel in
furnishing-discovery re owenrship 6f property; 4. Case Myrdal Bigelow &
Lombardi, or its successor, shall acept service of all papers on Lei
Investments in this proceeding including the Supplemtnal Complaint. ~ on
behalf of pitfs. ~ All cases REAL

Affidavit of Bienvenido R. Tantoco; Certificate of Service ~ on behalf of
Intervenor Lei Investments, Ltd. ~ All cases

Proof of Service ~- on behalf of deft. Estate - All cases

Supplemental Transcript Designation and Ordering Form - 01/20/95, 08/18/94 (ESR)
{re #608]

Proof of Service - on behalf of deft. Estate ~- All cases

Transcript of Proceedings - original ~ 09/23/92 ~ V/ARS [Gwen J. Van Every]

franscript of Proceedings - original - 09/23/92 - V/ARS [Gwen J. van Every] J

Supplemental Transcript Designation and Ordering Porm ~ 01/20/95’ (ESR), 04/24/95

ttc} ~ [re #624]

- See paye 56 -

LIA Case 1:03-cv-11111-DKW-KJM Document1-2  Filed01/01/03 Page 11 of 25
M78) Ss PagelD.119 fos

civiL, DOCKET CONTINUATION SHEET
PLAINTIFF DEFENDANT

pocKET No, MDL 840
IN RE ESTATE OF FERDINAND MARCCS HUMAN RIGHTS LITIGATION i

PAGE S56 oF PAGES

DATE NR. 1.49 PROCEEDINGS

1995

Jul 7 | 635 Proof of Service ~ on behalf of deft. Estate -~ All cases

: G36 SUPPLEMENTAL COMPLAINT: Exhibit A; Summons {summons issued}

Transcript of Proceedings ~ original - 04/24/95 = Tc

Il. 637 Return of Service ~ served Supplemental: Compiaint; Summons on Bruce Bigelow on

07/11/95

14. 638 Supptemental Transcript Designation and Ordering Porm [re #607] ~ 2/22+23/94

Hedy Coleman - CA 95-15779

» 639 Supplemental Transcript Designation and Ordering Form-[{[re #607] -— 9/9/92,

9/22/92, 1/9/95, 1/18/95 (Lisa Groulx-Thompson) - CA 95-+15779

649 Proof of Service

17°) 641 Motion of Linn & Neville to Withdraw as Counsel of Record for Defendant - referred

to MLR ~ on behalf of Deft. Estate of Ferdinand E. Marcos

642 Certificate of Sérvice

18: 643 Errata Sheet - to correct Transcript Designation & Ordering Form ~ 2/22/94 Hedy

: Coleman corrected to 2/24/94 Hedy Coleman - CA 95~-15259 [#569]

19: 644 Certificatesof Record - sent to Sth CCA - CA 9595-15259 [#569] = ec: alli counsel

Record on Appeal,-censisting of 19 volumes of court reporters' original transcripts,
sent to 9th CCA - CA 95=15259 [#569]

20) 645 Amendéd Transcript Designation and Ordering Form [re #607] = 2/22-23/94 Hedy Coleman:

9/9/92, 9/22/92, 1/9/95, 1/18/95 Lisa Groulx-Thompson; 9/23<24/92, 1/9/95,

1/19/95 ,114726/95rhbaita Geronimo [ESR]; 2/8/93, 6/27/94, 8/18/94 Marcia

Mullins [ESR] - CA 95-15779

646 Amended Transcript Designation and Ordering Form [re #624] = 4/24/95 Terry Chun;

5/12/95 Lynne Smith; 1/20/95 Laila Geronimo [ESR] ~ CA 95~16145

*13 647 ‘(ORDER Granting Additional Relief for Contempt - DESTROYED

On Behalf of Plaintiffs - REAL

24 |648 jAmended ORDER Granting Additional Relief for Contempt - Linn and

Neville to pay the sum of $114,065.04 directly to the Special

Master and file a notice of compliance with the Clerk's Office

cc: all counsel REAL

+

649| EO: on July 13, 1995 this Court signed an Order Granting Additional

Relief for Contempt that was also filed that same date, This

Court is new amending the 7/13/95 order. The Court orders

that the 7/13/95 Order be pulled from the file and destroyed
REAL

650 ORDER Modifying Order 9/16/94 re Facially Invalid Claims - the following class

claims are reinstated:

Torture Control No. Victim Name
F-3100 Veneranda Atupan
T3101 Mercedes Atupan
T-3102 Eufemia Gupana Atupan
T3615 Tranquilinoe BAngi
T3654 Severa Bangi y Libungan
T=4812 Dorotea de Jose
T5032 Nelly Cabigayon
F-50033 Constancio Cabigayon
T-5070 Elmer Bronia Bajare
HT=24 Jaime Zamora
Summary Execution

Control No. Victim Name

S-1802 Inocencio Teric
§=<2051 Dedo Bualat

53-2077 Biren Frac See Next Page

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CIVIL, DOCKET CONTINUATION SHEET
PLAINTIFE DEFENDANT
/ pocket No, MDL 840
IN RE ESTATE OF FERDINAND MARCOS HUMAN RIGHTS LITIGATION 57
| PAGE 2! OF__ PAGES
DATE NR. PROCEEDINGS
1995
Continued:
Summary Execution
Control No, Victim Name
§-2119 Roberto Perez, dr.
§-2259 Roberto Perez, Sr.
§+2407 Loloy Sangilan
$-2408 Rolando Tanstumban
68-3427 Ernesto Hidlao
8-3456 Francisco Estosato
§-3485 Romeo Batula
On Behalf of Plaintiff REAL
Jul 26 Transcript of Proceedings ~ Original - 1/18/95 - Lisa Groulx-Thompson
28! 651 [Proef of Service
31 Transcript of Proceedings ~ Original ~ 6/29/95 - TC
652 | ANSWER to Supplemental Complaint Filed July 7, 1995; Demand for Jury Trial;
Certificate of Service - On Behalf of Defendant Lei Investments, Ltd.
*28 653 (NOTICE OF APPEAL; Certificate of Service - On Behalf of the Estate of Perdinand
Marcos
654 Transcript Designation and Ordering Form ~ 6/29/95 ~- TC
31 655 (Certificate of Record Sent to the 9th CCA re appeal filed on 7/28/95
656 AMENDED NOTICE OF APPEAL - Certificate of Service - On Behalf of the Estate of
...Ferdinand Marcos . . . .
nog 1 | O7 Nebhce, Sh SURESEPA SS Srepeags Lipa, dedamens, iw, Sisen an Btopenges Cases
2 658 (Notice of Compliance - on behalf of Defendant Estate of Ferdinand E. Marcos
3 PARTIAL TRANSCRIPT OF PROCEEDINGS - Original - 2/23/94 - Hedy Coleman
4 659 (Plaintiff's Memorandum In Opposition To Metion Of Linn & Neville To Withdraw As
Counsel fo Record For Defendant
ii 660 FINAL JUDGMENT ~- [In Re: Cv 86-0225 Sison vs. Marcos, Cv 87-0138 Piopongco vs.

Marcos] - Final Judgment entered pursuant to FRCP 58 in favor of plaintiffs

Jaime Piopongco and Estate of Francisco Sison in accordance with the unanimous

verdicts of the jury on 9/24/92, 2/23/94 and 1/20/95 and the Court's remittit

announced on 4/24/95. The Court's Judgment on Liability is as follows:

1. The Court incorporates herein its Judgment on Liability entered on 10/20
and its Order entered 12/17/92 denying defendant's post~trial motions re
liability.

2. Judgment for Compensatory Damages, based upon plaintiff's acceptance of
yemittiturs, is entered for plaintiffs Jaime Piopongco and Estate of
Francisco Sison as follows:

Jaime S. Piopongco $ 75,000
Estate of Francisco Sison $100,000

3. dudgment for Exemplary Damages, to make an example for the public good,
is entered inthe Aggregate of $ 1.2 Billion to be divided among the
membars of the class and direct action plaintiffs pro rata. Each Plainti
herein shall receive $ 132,027.72.

4. Pursuant to prior orders of the Court. plaintiffs Jose Maria Sison, Ramd

Sison and the Estates of Florentina and Amelia Sison shall take nothing.

(see Page 58}

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(Rev. 1/75)
CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF CEFENDANT
pocket no, MDL 840 -
IN RE ESTATE OF FERDINAND MARCOS HUMAN RIGHTS LITIGATION 58
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Aug 11 660 FINAL JUDGMENT (Cont'd from page 57)

5. Pursuant to FRCP $4(d)(2)(B), the Court Orders that direct action
plaintiffs (and their attorneys') claim for counsel fees and their
submission in support thereof be deferred and postponed until further
Order of the Court.

6. Pursuant to FRCP 54(d)(1), direct action plaintiffs ore awarded costs
which must now be submitted to be taxed by the Clerk.

7. ‘he Permanent Injunction entered in the Class Case, CV 86-0390-R shail
be deemed to apply to these direct actions,

8. Any monies collected by settlement or execution on Judgments entered in
any of the MDL 840 cases against defendant Estate shall be held and
disbursed as directed by the Court.

- on behalf of Sison/Piopongco Plaintirfs REAL

661 Certificate of Service -.
28 662 . Notice of Submiseion of Proposed Final Judgment in Sison and Piopongco Cases -
on behalf of Sison/Piopongeo Plaintiffs
Sep 6 663 NOTICE OF APPEAL - re Final Judgment filed 08/11/95 - on behalf of Sison/Piopongro
Pitfa - Cv 86-0225 & 87-0138 ~ cc: All counsel + CA 95-16779
il TRANSCRIPT - uriginal - Volume t ~ 9/9/92 (Lisa Groulx-Thompson)
TRANSCRIPT ~ Original - Volume II - 9/10/92 (Lisa Groulx-Thompson)
TRANSCRIPT - Original - Volume III ~ 9/14/92 (Lisa Groulx-Thompson)}
TRANSCRIPT - Original ~ Volume Iv - 9/15/92 (Lisa Groulx-Thompson)
TRANSCRIPT - Original ~ Volume V ~ 9/16/92 (Lisa Groulx-Thompsen }
TRANSCRIPT - Original - Volume VI - 9/17/92 (Lisa Groulx-Thompson}

12 664 Application for Rémission Pro Hac Vice of Eric T. Schneiderman and Eva Ciko;
Exhibits "A" - "DD"; ORDER Granting Application for Admission Pro Hac Vice
of Eric T. Schneiderman and Eva Ciko;: Certificate of Service - on behalf
of deft. Lei Investments, Limited KURREN

Notice of Appeal and certified docket sheet mailed to 9th CCA ~ cc: all counsel
(re #663) - see ,
665 | List of Exhibits To The Application For Admission Pro Hac Vice of Eric T,
Schneiderman and Eva Ciko; Exhibit "A" To The Application For Admission
Pro Hac Vice of Eric -‘T. Schneiderman And Eva Ciko; Certificate of Service
14 TRANSCRIPT - Original - Volume VII ~ 9/18/92 (Lisa Groulx-Thompson }
TRANSCRIPT - Original - Volume VIII - 9/21/92 (Lisa Groulx-Thompson )
TRANSCRIPT ~- Original - ‘Volume IX - 9/22/92 (Lisa Groulx~-Thompson}
15 666 Notice of Motion; Clase Plaintiffs' Motion For Writ of Execution; Exhibit A thru
C; Cartificate of Service - set for 11/27/95 at 9:00, Real
22 667 | ®o: deft's. Motion to Witndraw as Counsel will be set for 11-27-95 @ 9:00 a.m.
~~ before Judge Manuel L. Reals If there are any other matters to be addressed
at this hearing, counsel should notify this court in either a motion or
letter form. ({ec: ail counsel ef record): REAL
27 668 Certificate of Record sent to 9th CCA - CA 95-15779 (cc: all counsel) [re: #608]
669 | Certificate of Record sent to 9th CCA - CA 95-15259 (cc: all counsel) [re #569]
Oct 2 TRANSCRIPT - Original - 05/12/95 (Lynne Smith)
670 Certificate of Record sent to 9th CCA - CA 95-16145 (ec: all counsel) [re #624]
~ See page 59 -

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(Rev, 1/75) PagelD.122
CIVIL. DOCKET CONTINUATION SHEET
RLAINTIFF SEFENDANT

IN RE ESTATE OF FERDINAND MARCOS HUMAN RIGHTS LITIGATION

pocket no, MDL 840

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Response to Class Plaintiffs' Motion for Writ of Issuance of Writ of Execution
and Motion of Defendant to Strike ~ On Behalf of Estate of Marcos
Transcript Designation and Ordering Form - 93/15/92 Lisa Groulx, 91/92 Lisa
Groulx, 9/22/92 Lisa Groulx, 1/10/95 Lisa Groulx, 2/22/94 Hedy Coieman,
1/19/95 LG, 1/20/95 LG, 4/24/95 TC, 1/6/95 Rohert Cipolloni , 2/22/94 Hedy
Coleman, 2/23/94 Hedy Coleman, 9/9/92 Lisa Groulx, 93/10/92 Lisa Groulx,
9/14/92 Lisa Groulx, 9/16/92 Lisa Groulx, 9/17/92 Lisa Groulx,
9/18/92 Lisa Groulx, 9/21/92 Lisa Groulx, 1/9/95 Lisa Groulx,
1/11/95 Lisa Groulx, 1/18/95 Lisa Groulx, 9/23/92 LG, 9/24/92 LG,
2/8/93 MM, 6/27/94 MM, 8/18/94 MM
Confidentiality Stipulation - cc: all counsel REAL
Confidentiality Stipulation and Protective Order - ec: all counsel REAL
Notice of Hearing Motion; Motion of Kobayashi, Sugita & Goda to Withdraw

of Motion, Declaration of Lex R. Smith; Certificate of Service « set for
11/27/95 @ 9:00 a.m. Real
FINDINGS OF FACT, CONCLUSIONS OF LAW, and ORDER - on behalf of Plaintiffs REAL

Jr. And bon R. Fabric; Motion For Entry of Judgment; Memorandum in Support of
Motion; (Proposed) Judgment - set for 11/27/95 at 9:00 a.m., Real ~ on behalf
of Direct Action Plaintiffs Manuel S. Buncio, Gerardo Socco, Jr. and Don R.
Fabric

The Golden Budha Corporation's Motion to Intervene As of Right As A Party
Plaintiff; Memorandum of Law In Support of Motion: Affidavit of Daniel c.
Cathcart; (Proposed) Complaint In Intervention; REQUEST For Hearing On The
Golden Budha Corporation's Motion to Intervene As Of Right As A Party Plaintif
Certificate of Service ~- referred to Judgé Manuel Real

Memorandum In Opposition To Motion of Kobayashi, Sugita & Goda To Withdraw As
Counsel For Defendant Estate of Ferdinand E. Marcos= on behalf of Plaintiffs

ORDER ~ Deft's Counsel Linn & Neville’ has moved to be relieved as counsel ~

the motion is denied - cc: ail counsel REAL

ORDER ~- Firm of Kobayashi Sugita & Goda has moved to be relieved as counsel for

defendant - the motion is DENIED ~ ce: all counsel REAL

Memorandum in Oppesition to the Golden Budha Corporation's Motion to Intervene as
a Party Plaintiff Filed 11/9/95 - On Behalf of Plaintiffs

EO: The Motion to Intefvene filed on behalf of the intervenor the Golden

~~ Budha Corp. will be added to the calendar with other motions that are

presently set for monday 11/27/95 @ 9:00 a.m. All counseil notified of
this addition by phone REAT,

Transcript of Proceedings -~ Original - 2/23/94 ~ Hedy Coleman

Transcript of Proceedings - Original - 2/22/94 - Hedy Coleman

EP: Class Plaintffs' Motion For Writ of Execution - This Motion Was GRANTED; Court
Signed the Writ of Execution in open Court; Motion to Sever Claims GRANTED —
Or in the Alternative for a New Trial - DENIED; The Golden Budha's Corp.
Motion to Intervene ~ DENIED; Atty. R. Scarlett and S. Broder to prepare the
Orders (Ct Rptr:s YI} REAL

Plaintiffs' STATUS REPORT RE 2338 Maikiki Heights Drive; Exhibits A through ¢;
Certificate of Service « [Relates to ALL Actions]

{See Page 60)

as Counsel for Defendant Estate of Ferdinand E. Marces; Memorandum in Support

Notice of Hearing Motion; Motion to Sever Claims of Manuel S. Buncio, Gerardo Soc¢o,

£;

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PLAINTIFF

IN RE ESTATE

SEFENDANT
pocke7 No, MDL 840
OF FERDINAND MARCOS BUMAN RIGHTS LITIGATION

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Nov 27 686
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30 690

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Dec 1 692

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13 694

13 695

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WRIT of Execution; Return of Service (Issued) - {In Re: CV 86-390 (Hilao)] REAL

Amended Certificate of Service ~ [Relates to ALL Actions}

Plaintiffs' Second STATUS REPORT RE 2338 Makiki Heights Drive: Exhibit D;
Certificate of Service [Relates to ALL Actions]

Ex Parte Application For Admission of Attorney Daniel C. Cathcart to Practice
Pro Hac Vice; Declaration of Daniel C. Cathcart; Affidavit of Ward C. Jones;
ORDER Granting Ex Parte Application For Admission of Attorney Daniel C.
Cathcart to Practice Pro Hac Vice ~ on behalf of Plaintiff In Intervention
The Golden Budha Corporation REAL

OPINION [Relates to ALL Actions] - (The Use of an aggregate Procedure for
determining compensatory damages, under the procedures followed in this
litigation, was neither a violation of the parties' due process rights nor
their right to a jury trial under the Seventh Amendment. The aggregation of
compensatory damage claims vindicates important federal and international
policies, permits justice to be done without unduly clogging the court
system, and was shown to be fair to the defendant. Judgment should be
entered for Plaintiffs) (cc: all parties) REAL

OPINION AND ORDER [Relates to ALL Actions] - (Defendant Estate by Imelda Marcos
and Ferdinand Marcos, dr. are Ordered to forthwith execute an assignment
of the funds in the respective Swiss Banks in favor of the class and
individual plaintiffs. In default thereof the Clerk of Court is Ordered to
execute the assignment on behalf of the judgment debtor)
fcc: all parties} REAL

Jury Selection/dury Trial as to Plaintiff Vic Clemente will be set for 9:00
a.m., 2/26/36 before this Court in Honolulu, Hawaii (cc: all counsel of

record) REAL
JUDGMENT - entered pursuant to the "Opinion and ORDER," filed on November 30,

1995 (cc: all parties) [Relates to ALL Actions] CHINN/ NAKAMURA

ORDER Denying The Golden Budha Corporation's Motion to Intervene As Of Right As
A Party Plaintiff£ Filed 11/9/95 [Relates to ALL Actions] - on behalf of
Plaintiffs REAI.

ORDER [Relates to ALL Actions] (Defendants' Motion For New Trial is DENIED as
Pertains to Plaintiffs Manuel S. Buncio, Gerardo Socco, Jr. and Don R. Fabic;
The Claims of Manuel S$. Bunecio, Gerardo Socco, Jr. and Don R. Fabic are
hereby SEVERED from those of their Co-Plaintiffis; Said Claims remain, however,
under the Jurisdiction of this Court Subject to caption MDL 840} ~- on behalf
Direct Action Plaintiffs Manuel S. Buncio, Gerardo Socco, Jr., and Don R.
Pabic REAL

FINAL JUDGMENT - [In Re: CV 90-670-R and CV 90-671<R] ~ on behalf of Direct Action
Plaintiffs Manuel 5. Buncio, Gerardo Secco, Jr., And Don R. Fabic ~ [Court
enters Final Judgment Pursuant to FRCP 58 in Favor of Three Direct Action
Plaintiffs in Accordance with the Unanimous Verdicts of the Jury of 9/24/92,
2/23/94 and 1/20/95 and the Court's Judgment on Liability as Follows:

1) The Court Incorporates herein its Judgment on Liability entered 10/20/92
and its Order entered 12/17/92 Denying Defendant's Post-Trial Motions Re
Liability: ~

2) Judgment for Compensatory Damages is entered for the below named Direct
Action Plaintiffs as Follows:

Manuel Buncio $ 425,000.06
Don Fabic § 75,000.06
Geraldo Socco $ 150,000.00
3) Judgment for Exemplary Damages, to make an example for the Public Good,

(See Page 61)

OC:

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OC LLIA
Rev. 1/75) PagelD.124
CIVIL DOCKET CONTINUATION SHEET
BLAINTIFR DEFENDANT

IN RE ESTATE OF FERDINAND MARCOS HUMAN RIGHTS LITIGATION

pocKET No, MDL 840

PAGE 61 OF PAGES

DATE NR. PROCEEDINGS
1995
Dec 13 696 FINAL JUDGMENT (Continued) [In Re: CV 90~670~R and CV 90+671~R]

(Cont 3) is entered in the Aggregate of §$ 1.2. Billion to be divided among the
members of the Class and Direct Action Plaintiffs Pro Rata. Each Plaintiff
herein included shall recieve $132,027.72 for an Aggregate Amount of
$ 396,083.16.

4) Pursuant to FRCP 54(d4)(2)(B), the Court Orders that Direct Action
Plaintiffs (and their attorneys'} claim for counsel fees and their
submission in support thereof be deferred and postponed until further
Order of the Court.
3) Pursuant to FRCP 54(d}(1), Direct Action Plaintiffs are awarded costs
which must be now submitted to he taxed by the Clerk.
4} The Permanent Injunction entered in the Class Case, CV 86-0390—R shall
be deemed to apply to these Direct Actions.
5) Any Monies collected by Settlement or execution on Judgments entered in
any of the MDL 840 Cases against the Defendant Estate shall be held and
Disbursed as directed by the Court. REAL
ig 697 Plaintiffs' Motion For Confirmation of Sale of Marcos Mercedes: Memorandum In
Support of Motion; Exhibits A, B & C; Affidavit of Sherry P. Broder:
Certificate of Service [Relates to ALL Actions] ~ referred to Judge Real
22 698 Notice of Change of Address - [Relates to ALL Actions] ~ on behalf of Certain
Direct Action Plaintiffs (new address for Melvin M. Belli) -
28 699, Notice of Entry of Judgment ~- filed on 12/13/95 - On Behalf of Manuel Buncio,
Gerardo Socco, Jr. and Don Fabic
700 Notice of Entry of Order ~ filed on 12/13/95 - On Behalf of Manuel Buncio, Gerardo
Secea, Jr. and Don Fabic
1996
Jan & 7O1L Final JUDGMENT - in favor of these 16 action plaintiffs in accordance with the

verdicts on 9/24/92 and 1/20/95 and the Court's judgment on liability as
follows: 1. Court incorporated its judgment on liability entered on

16/20/92 and its order entered 12/17/92. 2. Judgment for compensatory damages
is entered in favor of plaintiffs as follows:

Name Amount
Alfonso King $96,000.00
George Gaddi $350,000.00
Ramon Mapalla $50,000.00
Ramon Castaneda $175,000.00
Emanuel Umali $325,000.00
Crispin Aranda $425,000.00
Fluellen M. Ortigas $425,000.00
Ramon Jalipa $100,000.00
Marcelino Deleon $75,000.00
Jose E, Asuncion . $250,000.00
Rex T. Brown $75,000.00
Susan Araneta $75,000.00
Esther Garcia $191,000.00 ~
Jerrold Garcia $200,000.06
Estate of Alex Torres $100,000.00
Vicente Clemente $150,000.00.

Judgment for exemplary damages is entered in the aggregate of $1.2 billion
to be divided among the members of the class and direct action plaintiff
pro rata. Each plaintiff included shall receive an additional $132,027.72

for an aggregate sum of $2,122,443.52. Direct action plaintiffs (and
their attys') claim or counsel fees and their submission in support (cont

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Case 1:03-cv-11111,DKW-KJM

Document 1-2

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CIVIL DOCKET CONTINUATION SHEET

i PLAINTIFF - OEFENCGANT
| DOCKET No, MDL 840

PAGE 62F PAGES

IN RE ESTATE oF FERDINAND MARCOS HUMAN RIGHTS, LITIGATION

PROCEEDINGS

DATE NR.
1996 ~
' Jan 8 CONTINUED:
be deferred and postponed until further order of Court. Direct action
plaintiffs are awarded costs which must now be submitted to be taxed by
the Clerk. The permanent injunction entered in the class case CV 86-390

shall be deemed to apply to these direct actions.

by settlement or execution of judgments entered in

Any monies collected
any of the MDL 840

| cases against the deft Estate shall be held a

nd disbursed as directed

Action Plaintiffs

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ha
de

by the Court - On behalf of Certain Direct REAL
ORDER Confirming Sale of Marcos Mercedes - for the sum of $30,000.00 ~
On Behalf of Plaintiff RRA,
Stipulated ORDER; Exhibit "A" ~ tge stipulated order of 6/29/95 is extended
to 3/30/96 - On Behalf of Plaintiff REAL
NOTICE OF APPRAL - re Order Denying Mation to Intervene filed 12/13/95 =~ on
behalf of The Golden Budha Corporation, Plaintiff in Intervention -
cc: all counsel [CA 96-15062]
Notice of Appeal and certified docket sheet
(RE:: 704)

Transcript Designation and Ordering Form ~ 11/27/95 (¥I}) - cA 96~15062
Transcript of Proceedings ~ original ~ 11/27/95 (vz)

mailed ta 9th CCA - ce: all counsel

Certificate of Record sent to 9th CCA ~ CA 96+15062 en:

all counsel

Feb 14

706
707

Process Receipt And Return ~ Re:

Order Confirming Sale of Marcos Mercedes:
o the Mercedes was issued to Ral

f

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709

$30,000 Less USMS Expenses

Clerk of the Court on 2/9/96]
Plaintiffs‘ Report re Marcos Mercedes Sale and Request for Approval of Expenses

of Collection and Sale; Affidavit of Sherry P. Broder; Exhibits A,B and

C; Certificate of Service

Transcript of Proceedings - Original - 1/6/95 + Robert L. Cipolloni

ceo:all counsel
quest for Approval of Expenses

Certificate of Record sent to 9th CCA - CA 95-16779

Plaintiffs' Report re Marcos Mercedes Sale and Re

Exhibits A, B and

| 720
: of Collection and Sale;

Affidavit of Sherry P. Broder;

Cc}
of pltfs ~ All Actions

711 ORDER Granting Plaintiffs! Request
| Sale of Marcos Mercedes « [1.
Sherry P. Broder,

: pltfs ~ All Actions
712

Apr iS
Provisions of the settlement a

Certificate of Service ~ referred to Jud

the sum of $4,086.99 from sale proceeds; —
deposit monies collected in an interest bearing account] - on be

CONSENT ORDER RE Deposit of Settlement Proceeds ~ {In accerda

ge Manuel L. Real - on behalf

for Approval of Expenses of Collection and

The Clerk shall pay pltfs' class counsel,
2. Cletk Shall

half of
REAL

nee with the
greement dated 4/12/96 between Plaintiffs and

by Lei Investments

Lei Investments Ltd

+s the sum of $ 1 Million Dollars shall be deposited
Ltd. with the Clerk of Court, District of Hawaii]
Lei Investments Ltd.] ~ on behalf of

713

22~—=«714

~ [Relates to Celsa Hilao va.
Plaintiffs
Corrected Exhibit "A"

Investments Ltd.] - on behalf of Plaintiffs
FP: Class Plaintiff's Motion For Entry of Consent
at 10:00 a.m. before this Court. {TC}

See Page 63

To Be Attached to Joint Motion For Entry of Consent order
Piled 4/18/96: Certificate of Service ~- [Relates to Ceisa Hilao ve. Lei

REAL

Order continued to 4/23/96

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Case 1:03-cv-11111-DKW-KJM Document1-2 Filed 91/01/03 Page 18 of 25
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(Rev. 1/75}
CIVIL DOCKET CONTINUATION SHEET
” PLAINTIFF OQEFENDANT

IN RE ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION

| DOCKET No, MDL 840

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| PAGE 63 oF_ | PAGES

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DATE

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FROCEEDINGS

1996
Apr 23

May 14

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Jun 106

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Sept 6

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728 JUDGKENT - OTH CCA - [CA 94-16739/CA 95-15259] ~ [Judgment of said District Court

EP: Class Plaintiffs' Motion For Entry of A Consent-Order: Court did not rule on

— this motion at this time; Motion may be addressed on 6/4/96 at 9:00 a.m.
before this Court in Los Angeles, CA (TC) REAL

Notice of Motion: Joint Motion For Entry of Consent Order: Exhibits A & B;
Certificate of Service - [Document Relates to Celsa Bilao vs. Lei Investments
Ltd.] ~ set for 4/23/96 at 10:00 a.m., Real - on behalf of Plaintiffs

Plaintiffs! Motion For Preliminary Approval of Settlement With Lei Investments
Limited [Relates to All Actions] ~ referred to Judge Real

ORDER By Judge Manuel Real - [Plaintiffs’

Settlement Agreement between Plaintiff
Preliminary Approved]

Motion For Preliminary Approval of the

s And Lei Investments Limited is hereby
(Relates to All Actions} ~ on behalf of Plaintiffs -

REAL
ORDER GRANTING Plaintiffs' Request For Approval of Additional Expenses of
Collection And Sale of

Marcos Mercedes —- [Relates to All Actions] = on behalf
of Plaintiffs REAL
Plaintiffs' Supplemental Memorandum In Support of Motion For Preliminary Approval
Of Settlement With Lei Investments Limited Filed 5/14/90; Exhibit B;
Certificate of Service - [Relates to All Actions]

Notice of Motion; Plaintiffs' Motion For Supplemental Relief Por Civil Contempt
Against Imelda Marcos and Ferdinand &, Marcos; Memorandum in Support of
Plaintiffs' Motion For Supplemental Relief For Civil Contempt Against Imelda
Marcos and Ferdinand E. Marcos; Exhibits A and B; Certificate of Service ~
Set for 8/28/96 at 9:00 a.m., Real

Response In Opposition To Plaintiff's Motion For Supplemental Relief For Civil
Contempt Against Imelda Marcos And Ferdinand R. Marcos; Memroandum Of Law;
Certificate of Service - on behalf of Defendants [Relates to All Actions]

EO: Pltf's M/Supplemental Relief for Civil Contempt Against" Imelda Marcos and

™ Ferdinand Marcos presently set for 8/28/96 is hereby continued to 9/13/96

@ 3:00 p.m. before Judge Real in Los Angeles, CA.
{cc: all counsel of record} REAL

Plaintiffis' Statement of No Opposition to Motion of Estate of Ferdinand =.

Marcos for Continuance of Hearing Regarding Motion for Supplemental
Relief for Civil Contempt [All Actions] - on behalf of pitfs

ORDER Regarding Travel by Imelda R. Marcos When In the United States - [Imelda

Marcos may travel within the US for purposes of receiving medical treat-

ment to Boston, MA, New York, NY, Houston, TX, San Francisco, CA and/or

Washington, DC for the period of 8/21/96 to and inc 9/30/96. While in the

US, Imelda Marcos will make no public stmt re this litigation]

{ce: all counsel) REAL

ORDER ~ [Plaintiffs' Motion for Supplemental Relief is Continued to a date to be
set by the Court within 30 days] {ee: all parties} REAL

Notice of Motion: Plaintiffs' Motion For Amended Order To Certify The Final
Judgment For Transfer to Other Districts - [Relates to All Actions] --
referred to Judge Real

is VACATED; the injunction is vacated to the extent it purports to enjoin

The Republic of the Phillipines] - [Relates to Hilao Class Plaintiffs]
(cc: all parties, Judge Real}

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(Rev, 1.75}

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CIVIL DOCKET CONTINUATION SHEET

PLAINTIFF

| IN RE ESTATE OF FERDINAND MARCOS HUMAN RIGHTS LITIGATION

DEFPENOSANT
| pocket No. MDL 840

PAGE 6S40F_ Paces
DATE NR. PROCEEDINGS
1996 —_—_—_
Oct 31 729 | WRIT OF EXECUTION (Issued)
Nov 19 730 Return on Writ of Execution - [executed 11/13/96]
‘Dec 2 731 .ORDER - 9TH CCA - [CA 96-15062 & CA 96~-55227] - The Golden Buddha Corporation's
Motion for Voluntary Dismissal of these consolidated Appeals is GRANTED.
(ce: all parties, Judge Real)
1997
Jan i0 732 AMENDED ORDER Directing the Clerk te Certify the Final Judgment for Transfer
to Other Districts ~ [Clerk of Court directed to certify 2/3/95 Final Jqmt
for transfer to other districts and to include within its scope the aliases
and pseudonyms used by Ferdinand E. Marcos and his Estate (see doc for list}]
~ on behalf of pitfs REAL
13 733 JUDGMENT - OTH CCA - [CA 95~16487 & CA 95~16145] = [dudgment of District Court
is APFIRMED!] (ce: all counsel} FLETCHER, PREGERSON & RYMER
Feb 19 734 JUDGMENT ~ OTH CCA - [CA 95-15779] ~ Judgment of said District Court is hereby
AFFIRMED (ce: all counsel, Judge Real) FLETCHER, PREGERSON & RYMER
19 735 MBL 840 TRANSFER ORDER - [Re: Loretta A. Rosales, et al. vs. Credit Suisse, et
al., C.D. California, C.A. No. 2:96-6419 transferred to USDC, Dist of HI]
Mar 3 736 Notice of Motion; Motion to Compel Production of Documents; Plaintiffs!
Memorandum of Law in Support of Motion to Compel Production of Documents;
Declaration of Robert A. Swift; Exhibits A thru H:; Certificate of Service
set for 3/24/97 @ 10:00 a.m. Real
5 737 JUDGMENT - 9th CCA - AFFIRMED in part and REVERSED in part ~ ce: all counsel,
Judge Real and Leslie
6 738 Supplement to Exhibit “E* to Plaintiffs' Motion to Compel Production of Documents
Certificate of Service ~ On Behalf of Plaintiffs
14 739 EO: The filing and spreading of the Mandate/Judgment from the 9th CCA set for
monday, March 24, 1997 @ 10:30 a.m. before Judge Manuel Real at the US
Courthouse Bldg in Honolulu. Please note: ali counsel was notified by
phone of the héaring date; ce: all counsel REAL
18 | 740 . EO: Plaintiffs' Motion to Compel Production of Documents persently set for
~~ 3/24/97 is hereby continued to 4/14/97 @ 10:00 a.m. before Judge Manuel
Real. This hearing will take place at the US Courthouse Bidg in Honolulu,
Hawaii; cc: all counsel of record REAL
24 741 | EP: Filing and Spreading of the Mandate from the 9th CCA - reversed Re:
“compensatory damages. Pretrial: 8/14/97 @ 10:00 a.m. Jury trial:
9/21/97 @ 9:00 a.m. Motions filing deadline 5/4/97
(SP) REAL
25 , 742 EO: Filing and Spreading of the Mandate from the 9th CCA ~ This is notify
~~ counsel of date changes in the above mentioned case. Pretrial 8/14/97 @
10:00 a.m. (no change). Jury trial 9/22/97 @ 9:00 a.m. (monday). Motions
filing deadline 5/5/97 (monday). ce: Paul Hoffman and Sherry Broder and
Lex Smith REAL
27 743 Plaintiffs' Submission of Philippine Court of Appeals Decision - on behalf of

Class Pitfs ~ Cv 86-207

~ SEE PAGE 65 -

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CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF DEFENDANT
DOCKET NO. MDL 840
IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION PAGE 65 OF PAGES
DATE NR. PROCEEDINGS
1997

Mar 27 744 Memorandum of Points and Anthorities in Opposition to Plaintiffs' Motion to

Compel Discovery ~ on behalf of Credit Suisse and Swiss Bank Corp

~ 96 Civ 6419 (C.D.CA)

745 Declaration on Swiss Law of Stefan Trechsel - on behaif of Swiss Bank Corp and

Credit Suisse ~ 96 Civ 6419 {C.D.CA}

746 Supplemental Declaration of Stefan Trechsel - on behalf of Swiss Bank Corp and

Credit Suisse - 96 Civ 6419 (C.D.CA)

747 Declaration of Paul J. Bschorr in Oppesition to Plaintiffs' Motion to Compel
~ on bhealf of Swiss Bank Corp and Credit Suisse - 96 Civ 6419 (C,.D.CA)

Received from 9th CCA: Original Case file (12 volumes); Documents in Expanding

folders and Transcripts

Apr 1 748 Proof of Service by Mail (Certificate of Service) - 96 Civ 6419 {C.D.CA}

EO: Received from the Central District of California the Case File for Cw 97-00289MLR
(their case No. Cy 94-6419R(Mcx) Loretta A. Rosales vs. Credit Suisse, et al.
also included was a certified copy of the Docket Sheet

7 749 Reply Memorandum In Support of Plaintiffs' Motion to Compel Production of
Documents; Certificate of Service ~ [Relates to Cv 97-299]

EO: Plaintiffs' Motion to Compel Production of Documents presently set for 4/14/9
is hereby continued to 9:00 4/24/97 before Judge Manuel L. Real; ‘The hearing
will take place at the U.S. Courthouse Bldq. in Honolulu; Please note: Judge
Real was faxed a letter dated 4/4/97 from Atty. Michael Rauch to Leslie Sai;
Judge Real informs the Clerk's Office here in the District of Hawaii as to
what date to hold hearings in cases he handles here in the District;

(eo: all counsel of record) REAL

Supplemental Memorandum In Support of Plaintiffs' Metion to Compel Production of
Documents; Exhibits “AY & "J": Certificate of Service [Relates to Cv 97~289}

752 ORDER GRANTING Motion to Compel [Relates to Cv 97-289] (cc: all parties} REAL

EP; Plaintiffs' Motion to Compel Production of Documents - Oral Argument held;
Motion to Compel is hereby Granted; Defts' have until 5/9/97 to produce
Documents; Defts' Oral Motion to Stay Court's Order - DENIED; Mr. Swift to
prepare the Order (Ct Rptr: YI) _ REAL

Notice of Association of Counsel - [Carl Varady associates as counsel] for pltfis,

Jose Maria Sison and Jaime Piopongco!] - as to Cv Nos 86-225, 87-138
Memorandum re Retrial of Plaintiff Jose Maria Sison's Damage Claims and Trial of
Plaintiff Jaime Piopongco Destruction of Property Claims; and REQUEST for
Clarification of Pre-trial Procedures - referred to Judge Real ~- on behalf
of pltfs Jose Maria Sison & Jaime Piopongco ~- as to Cv Nos 86-225, 87-138

7 756 NOTICE OF MOTION; Plaintiffs' Motion for Leave to File Second Amended Complaint
and to Substitute Plaintiffs; Memorandum of Law in Support of Motion;
Exhibit A: Certificate of Service - set for 65/14/97 @ 1:30 pm LA time via
telephone conference before Judge Manuel L. Real - as to Cv 96-6419 C.D.CA
[Cv 97-289 USDC-HT]

Defendants' Opposition to Ex Parte Motion to Shorten Time - on behalf of Defts
Credit Suisse and Swiss Bank Corp ~ as to Cv 96-6419 C.D.CA [Cv 97-289 USDCc-
HY]

NOTICE OF MOTION re Plaintiffs' Motion for Leave to File Second Amended Complaint

and to Substitute Plaintiffs - set for 5/14/97 @ 10:30 am HI time via tele-

phone conference before Judge Manuel L. Real - on behalf of Pltfs ~ as to
Cv 96-6419 C.D.CA [Cv 97-289 USDC-HI]

- SEE PAGE 66 —

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CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF OEFENDANT

bocKET NO. MDL 840

IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION
PAGE 66 OF PAGES

DATE NRL? PROCEEDINGS

May 14 759 Defendants' Opposition to Motion for Leave to File Second Amended Complaint and
: to Substitute Plaintiffs - on behalf of Defts. Swiss Bank Corp and Credit

Suisse ~ Cv 96-6419 C.D.CA [Cv 97-289 USDC-HTI]

760 Proof of Service by Mail - Cv 96-6419 C.D.CA [Cv 97-289 USDC-HT]

761 | EP: Telephonic Hearing re Plaintiffs' M/Leave to File 2nd Amended Complaint

and to Substitute Plaintiffs ~ The Court hears arguments of counsel. The

Court GRANTS Plaintiffs' motion, as stated by the Court on the record.

Plaintiff to submit a proposed order. - Cv 96-6419 C.D.CA [Cv 97-289 USsDC-AT]
(Leonore LeBlanc} REAL

22 762 SECORD AMENDED COMPLAINT - on behalf of pltfs - Cv 96-6419 C.D.cCA [Cv 97+289 USsD¢-HT}

23 763 ORDER Granting Motion for Leave to File Second Amended Complaint - [Pltfs granted

lv to file 2nd amd compl to substitute Orlando Tizon and Thelma Lovely

Argenal in place of current named pitfs.] - Cv 96-6419 C.D.CA [Cv 97~289

USDO-HI] (ec: ail counsel) REAL

27 | 764 NOTICE OF MOTION; Plaintiffs' Motion to Correct the Judgment of 02/03/95;

Exhibit "A" ~ non~hearing - referred to Judge Real - Cy 96-333

23 765 Certificate of Service - Cv 96-6419 C.D.CA [Cv 97-289 USDC~HI]

Jun 4 766 | MOTION For Reconsideration of Order Granting Plaintiffs' Motion For Leave to File

A Second Amended Complaint - on behalf of Defendant Credit Suisse [Cv 97-289,

USDC~HI] - referred to Judge Manuel L. Real

467 | MEMORANDUM of Points and Authorities In Support of Motion For Reconsideration of

order Granting Plaintiffs! Motion For Leave to Pile a Second Amended

Complaint - [Cv 97-289 USDC-HI] ~ on behalf of Defendant Credit Suisse

768 | Declaration of Paul J. Bschorr In Support of Motion for Reconsideration of Order

Granting Plaintiffs' Motion For Leave to File a Second Amended Complaint ~

[cv 97-289 USDC-HI] - on behalf of Defendant Credit Suisse

769 ANSWER to Second Amended Complaint - [Cv 96-6419 C.D.CA., Cv. 97-289, USDC-HI] ~~

on behalf of Defendant Credit Suisse

370 ANSWER of Swiss Bank to Second Amended Complaint ~ [Cv 96-6419 C.D.CA, Cv 97-289,

gspc-Hr]

5 771 | Defendant's: Objection to Motion to Correct Judgment [All Actions]

6 9721! Proof of Service By Mail (Re: Answer of Swiss Bank Corporation to Second Amended
Complaint) - [Cv 94-6419 C.D.CA., Cv 97-289, USDC_HI] ~ on behalf of

Defendant Swiss Bank Coporation

773 | Proof of Service By Mail (Re: Motion For Reconsider tion) - [Cv 94-6419, C.D.CA.,
Cy 97-289, USDC-HI] - on behaif of Defendant C.redit Suisse

10 774; Plaintiff's Memorandum in Opposition To Defendants’ Motion For Reconsideration

. ‘of Order Granting Motion For Leave to File Second Amended Complaint; Exhibit
A; Certificate of Service - [Cv 94-06419 C.D.CA, Cy 97-289, USDC-HT]

16 775 | JUDGMENT - 9TH CCA - [CA NO. 96-16246] Civil No. 96-00313MLR - Judgment of said
Court is hereby AFFIRMED (cc: all parties)

Tul 14 776 | Declaration of Paul 3. Bschorr - Cv 96-6419 C.D.CA [Cv 97-289 USDC-HT]

Aug i 777 | ORDER Denying Defendants’ Motion for Reconsideration —-

cc: alli counsel REAL

778 Witness List of Sison/Piopongeo Plaintiffs - Civ 86~-226,87-138

779 Sison/Piopongco Plaintiffs’ Pretrial Memorandum of Law - Cv 86-225, 87-138
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See Page 67

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CIVIL DOCKET CONTINUATION SHEET

PLAINTIFF

IN RE ESTATE OF FERDINAND E. MARCOS

SEFENDANT
/oocKET No, MDL 840.

HUMAN RIGHTS LITIGATION | pace 670F___ PAGES
DATE NR. PROCEEDINGS
1997 ~—
ug 8 780 |Defendant's Pretrial Memorandum After Remand - CV 86-225 and 87-138
13 781 STIPULATION for Entry of Amended Final Judgment in the Sison and Piopongce
Actions; Exhibit "A" - on behalf of Sison/Piopongco Pltfs ~ Cv 86-225 and
87-138
18 782 Certificate of Service - [Cv 86-225 and Cy 87-138]
783 Certificate of Service ~ [Cv 86-225 and Cv 87~138]
28 784 EO: Status Conference set for 9/10/97 @ 4:30 pm before Judge Manuel L. Real.

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THis Status Conf is to take place in Courtroom No. 333 in the Eastern
District of New York-Brooklyn Courthouse. (ec: Robert Swift, James Paul
Linn & Stephen Bomse) REAL

Plaintiffs' EX PARTE MOTION for a Protective Order and to File Documents Under
Seal; Plaintiffs' Memorandum of Law in Support of Ex Parte Motion for a
Protective Order and to File Documents Under Seal; [Proposed] Order;
Certificate of Service ~ referred to Judge Manuel L. Real - [Cv 86-390
and Cv 96-6419 C.D.CA (Cv 97-289 USDC-HI)]

NOTICE OF MOTION; Plaintiffs' Motion for Civil Contempt; Memorandum in Support
of Plaintiffs' Motion for Civil Contempt; Affidavit of Reiner Jacobi and
Exhibits A-F: Affidavit of Jon M. Van Dyke; Exhibits 1-5; Certificate
of Service - referred to Judge Manuel L. Real ~ [Cv 86-390 and Cv 96-6419
C.D.CA (Cv 97-289 USDC-HI)] - FILED UNDER SEAL.

Pltf's M/Civil Contempt ~- Court will set a hearing for Mon, 09/29/97 @
10:00 a.m. in Los Angeles regarding Plitfs' Request for Production of
Documents Re Contempt Motion. Memoranda regarding this hearing are to

be submitted to Judge Real's chambers by 9:00 a.m. on 09/29/97. Also to

be discussed at this hearing is a future date to be set regarding the

Pltfs' Contempt Motion. (cc: by fax ~ atty Paul J. Bschorr and Judge

Real's Courtroom Deputy Clerk) (DC} REAL

Declaration of Paul J. Bschorr ~ on behalf of Deft Swiss Bank Corp ~ Cv 96-6419
C.B.CA (Cy 97-289 USDC-HI}

Swiss Bank Corporation's Responses to Plaintiffs' Request for Production of
Documents re Contempt Motion - on behalf of Deft - Cv 96-6419 C.D.CA (cy
97+289 USDC-HT)

Declaration of Matthew Walsh in Support of Swiss Bank Corporation's Responses
to Plaintiffs' Request for Production of Documents re Contempt Motion —
on behalf of Deft - Cv 96-6419 C.D.CA (Cv 97-289 uspc-HT)

Swiss Bank Corporation's Responses to Plaintiffs' Request for Preduction of
Documents re Contempt Motion - on behalf of Deft - Cv 96-6419 C.D.CA (Cv
97-289 USDC-HTI)

Response and Objections to Plaintiffs’ Request for Production of Documents re
Contempt Motion by Special Appearance - on behalf of Deft Ferdinand E.
Marcos - Cv 96-390

AMENDED FINAL JUDGMENT; Exhibit "A® - {1. Court incorporates ail terms of

Jgmt dtd 8/11/95. 2. Jgmt for compensatory damages entered for Pltf

Jose Maria Sison in amt of $750,000. 3. dgmt for compensatory damages

entered on Pitf Jaime Picpongce's property claims in amt of $250,000.

5. The other provisions of the Jgmt dtd 8/11/95 shall remain in full

force and effect. 6. The amts above include any costs awardable under

FRCP S4(d)¢1}, but do not include any claim for court-awarded attys'

fees.] - on behalf of Sison/Piopongco Pltfs - Cv Nos. 86-225 & 87-138
REAL

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CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF DEFENDANT

IN RE: ESTATE OF FERDINAND E.- MARCOS. HUMAN RIGHTS LITIGATION

| DOCKET NO. MDL 840

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DATE

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304

Declaration of Matthew Walsh in Support of Swiss Bank Corporation's Responses
te Plaintiffs' Request for Production of Decuments re Contempt Motion ~
on behalf of Deft Swiss BAnk Corp - Cv 96-6419 D.C.CA (Cv 97~289 USDC-HI)

EP: Re Discovery on Plaintiff's Motion for Civil Contempt ~- The Court hears
arguments of counsel. The matter is continued to 11/10/97 at 10:00 a.m.
in Los Angeles for hearing on Plaintiff's Motion for Civil Contempt.

[Held in USDC-C.D.CA] (Deborah Parker) REAL

Memorandum of Law in Support of Request for International Judicial Assistance
Pursuant to the Hague Convention of 18 March 1970 on the Taking of Evidence
in Civil or Commercial Matters - on behalf of Swiss Bank Corp ~ Cv 96-6419
C.D.CA (Cv 97-289 USDC-HT)

Declaration of Matthew Walsh - on behalf of Swiss Bank Corp ~ Cv 96-6419 C.D.CA
{Cv 97-289 USDC~HI)

ORDER to Show Cause - [Pitfs Celsa Hilao, by her counsel, to show cause before

Judge Manuel L. Real on 11/03/97 @ 10:00 am (in L.A.) why Court should not
{1} issue Letter of Request for Intl Legal Assistance, etc...] ~ on behalf
of Swiss Bank Corp - Cv 96+6419 C.D.CA (Cv 97+289 USDC-HI}

MARIANA R. PFARLZER for MANUEL L.. REAL

Proof of Service by Mail of: Order to Show Cause ~ on behalf of Swiss Bank
Corp ~ Cv 94-6419 C.D.CA (Cv 97-289 USDC-HI)}

NOTICE OF APPEAL; Certificate of Service - [re Final Judgment entered 10/3/97]
~ on behalf of Sison/Piopengeo Pitfs - Cv 96-225, 87-138 (cc: All Counsel)

Filing Fee Paid $105.00, Receipt #176987

AMENDED NOTICE OF APPEAL; Certificate of Serivce - [re Final Judgment entered
10/3/97] ~ on behalf of Sison/Piopongco Pltis - Cv 96~225, 87-138 (cc: All
Counsel}

ORDER ~- [Court appoints Sol Schreiber as Special Master to supervise all pending
discovery. His fees will be shared equally by both sides.} ~- Cv 86-390,
96-6419 C.D.CA (Cv 97-289 USDC-HI) (ce: All Counsel)

REAL

Plaintiffs Memorandum In Opposition to Defendants' Request for International
Judicial Assistance - on behalf of Pltfs - Cv 96-6419 C.D.CA (Cv 97-289
USDC=HTI }

Swiss Bank Corporation's Reply Memorandum In Further Support of Request for
International Judicial Assistance Pursuant to The Hague Convention of
18 March 1970 on the Taking of Evidence in Civil or Commercial Matters
~ Cy 96-6419 C.D.CA (Cv 97-289 USDC-HI)

Notice of Appeal and Docket Sheet sent to 9th CCA {ec: ALL Counsel)

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Case 1:03-cv-11111-DKW-KJM Document1-2 Filed 01/01/03 Page 24 of 25

(Rev, 1/75) a PagelD.132
CIVIL DOCKET CONTINUATION SHEET
PLAINTIFF OEFENCANT i
. | DOCKET NO, MDL _840 (
IN RE: ESTATE OF FERDINAND E. MARCOS HUMAN RIGHTS LITIGATION |
| PAGE 690F__ PAGES
DATE NR. PROCEEDINGS
1997
Nov 13 807 OPPOSITION To Plaintiffs! Proposed Form of Order Re Hague Convention Request -
on behalf of Swiss Bank Corporation - Cv 96-6419 (C.D. of Ca}, Cv 97-289,
usDC~Hi
14 808 Notice of Withdrawal of Plaintiffs' Motion For Civil Contempt; Certificate of
Service - Cv 86-390; Cv 96-6419 C.D. of Ca., Cv 97-289 USDC-Hi - on behalf
of Plaintiffs
Dec 5 809 Transcript Designation and Ordering Farm [Re: CA 97-17226] (Sison Cv 86-225; 87-1138}
None
ll 810 ORDER Regarding Travel by Imelda R. Marcos When In The United States - [Relates
to ALL ACTIONS] (ce: all parties) REAL
22 811 ORDER Regarding Travel [Imee Manotoc Marcos] - [Relates to ALL ACTIONS]
i (ec: all parties) RRAI,
30 Transmittal from 9TH CCA - received Original Transcript (1 Volume) Re: CA 95-16779
1998
Mar 9 812 JOINDER of Ferdinand R. Marcos in Response of Imelda R. Marcos to Plaintiff's
Motion for Supplemental Relief for Civil Contempt - Cv 86-390
813 RESPONSE of Imelda 2. Marcos to Plaintiff's Motion for Supplemental Relief for
Civil Contempt Against Imelda Marcos [etc.] - All Actions
23 814 Plaintiffs' MOTION for Leave to Send a Class Notice to All Class Members ~
non-hearing, referred to Judge Manuel Real - Cv §6~390 €
Apr 7 815 ORDER Granting Motion For Leave to Send Class Notice to All Class Members ~ on
behaif of Plaintiffs - Cv 86-390 REAL.

Jun 4 816 ORDER re Payment of Bill for Special Master's Fees and Expenses -pltfs and deft to
pay one half each of the bill of the special master which amounts to
$108,565.37 each. From the seizure of the Marcos assest in the US, pltf
will pay half of the special master’s bill and the remainder is to be made by
the deft. Payment to be made within 2 weeks after receipt of this
order = cc: all counsel REAL

16 817 [Class Counsel's Motion for Reimbursement of Certain Costs +
Referred to Real

Jul 2 818 [EO: Class Plaintiffs' Motion for Recovery of Certain Costs set for 7/16/98 at 10:40
a.m. before Judge Manuel L. Real; Pltf's counsel Sherry Broder to notify
all counsel of this hearing REAL

27 819 |FO:; Class Counsel's Motion For Reimbursement of Certain Costs set for 9/10/98 at
16:00 a.m. before Judge Manuel L. Real in the U.S. Courthouse Bldg -
Honolulu, Hawaii (cc: all counsel of record) REAL
Sep 14 | 820 | EP: Class Counsel's Motion for Reimbursement of Certain Costs- GRANTED. Mr.
Swift and Ms. Broder to prepare the order
(Debra Chun} REAL
ig 821 | ORDER Granting Class Counsel's Motion for Reimbursement of Certain Costs, Filed

B22

June 16, 1998 - class counsel shall be paid $25,145.08 from the amt on
deposit with the clerk of court - by pltf

Pretrial ORDER No. 9: Case Management ~- Court retains exclusive jurisdiction ovef ail]
posttrial proceedings. Only pitfs' lead counsel and co counsel are t
authorized to engage in settlement negotiations on behalf of pltf ~ C
by pltf REAL

See Page 70

Rei Case 1:03-cv- 11111 DKW-KJM Document 1-2 Filed(Q1/01/03_ Page 25 of 25
CiviL, nocwe POS ai Ad rion SHEET
PLAINTIFF CEFENDANT
- pocKker No.MDL 840
IN RE: ESTATE OF FERDINAND E. MARCOS| HUMAN RIGHTS LITAGATION pace 10 of___paces
DATE NR. PROCEEDINGS
1998
Oct 7 823 NOTICE OF Firm Name Change and Change of Addrese - as to Kevin McLean -
: On Behalf of Plaintiff - Cv 90-670, 90-671
29 824 | Plaintiffs' Submission of Hawaii Supreme Court Decision; Exhibits A & B -
All Cases
Dec 25 Transcript of Proceedings - Original - 11/27/95 - Yukie Ichikawa
Nov 23 825 Notice of Change of Address ~ on behalf of Claimants Victor B. Lovely, dr., et all.
Dec 2 826 | JUDGMENT — 9TH CCA - [CA 97~17226] - Judgment of said District Court is hereby
Affirmed (cc: all parties, Judge Real)
23 TRANSCRIPT OF PROCEEDINGS - Original - 3/2/92 - (Ct Rptr: Yukie H. Ichikawa}
PARTIAL TRANSCRIPT OF PROCEEDINGS - Original - 11/27/95 - (Ct Rptr: Yukie H. Ichika:
TRANSCRIPT OF PROCEEDINGS - Oroginal - 4/24/97 - (Ct Retr: Yukie H. Ichikawa)
i999
iFeb 23 B27 Class Counsel's Motion for Preliminary Approval of Settlement and Authorization to
Mail Class Notice; Memorandum of Law of Plaintiff Class in Support of Theix
Motion for Preliminary Approval of Settlement and Authorization to Mail
Class Notice; Exhibits A-C; Certificate of Service - referred to Judge Redl
26 828 | ORDER Granting Preliminary Approval of Settlement Agreement and Mailing Class
Notice - hearing on the final approval of settlement set for 4/26/99 @ 10:00
a.m. Judge Real. Class Counsel's M/Final Approval of the Setlement and for
an Award of Coumsel Fees and Expenses to be filed by 3/17/99. Objections
to the settlement or the request for counsel fees to be filed by 3/30/99. Cler
of Court te sign and.furnish to the class counsel the undertaking. Clerk to
deposit the settlement funds with the court registry investment system -
On behalf of Plaintiff REAL
829 ORDER - counsel to provide a claim form with the mailing of class notice to clas
members to be returned to the Clerk of Court by first class mail and
received by 3/30/99 - cc: all counsel REAL
Mar 8 830 |PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims - by
Alfrede M. Gonzales
10 831 |PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims - by
Robin Velez Tubungbanua
1i 832 PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims ~ by
Thelma Lovely Argenal
833; PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims - by
Manuel Ramos (Deceased)
12 834 PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims - by
Henry Lewis B. Abendano
15 835; PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims - hy
Osqugama C. Ferrer
is 836 PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims
~ by Robin Velez Tubungbanua
837! PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims — hy
Rolando Federis
838] PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims ~ Hy
Carlos Tayag
839) PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims ~ Hy
Eduardo F. Dizon
840 PROOF of Claim Form for Torture, Summary Execution and Disappearance Victims - Hy
Lauro G. Pabit
See Page 71

